Information to identify the case:
Debtor 1              DAVID J BARNETT                                                   Social Security number or ITIN        xxx−xx−3509
                      First Name   Middle Name    Last Name                             EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Arizona
                                                                                        Date case filed for chapter 7 8/5/19
Case number:          2:19−bk−09738−PS


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             12/17

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Your case could be dismissed if you do not file the required documents, fail to
appear at the meeting of creditors or if you do not provide photo identification and proof of social security number to
the trustee at the meeting.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                                 About Debtor 1:                                     About Debtor 2:

1.      Debtor's full name                       DAVID J BARNETT

2.      All other names used in the
        last 8 years

3.     Address                               4896 N GRANDVIEW DR
                                             BUCKEYE, AZ 85396

4.     Debtor's attorney                     DAVID 1 ALLEGRUCCI                                     Contact phone 623−412−2330
                                             ALLEGRUCCI LAW OFFICE PLLC                             Email: alopllc@aol.com
       Name and address                      307 North Miller Road
                                             Buckeye, AZ 85326

5.     Bankruptcy trustee                    DINA ANDERSON                                          Contact phone 480−304−8312
                                             21001 N. TATUM BLVD., #1630−608                        Email: DAnderson@DLATrustee.com
       Name and address                      PHOENIX, AZ 85050
                                                                                                               For more information, see page 2 >
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Debtor DAVID J BARNETT                                                                                              Case number 2:19−bk−09738−PS


6. Bankruptcy clerk's office                    U.S. Bankruptcy Court, Arizona                                    Office Hours:
                                                230 North First Avenue, Suite 101                                 8:30 am − 4:00 pm Monday−Friday
    Documents in this case may be filed at this Phoenix, AZ 85003−1727
    address. You may inspect all records filed
    in this case at this office or online at                                                                      Contact Phone: (602) 682−4000
    www.pacer.gov.
                                                                                                                  Date: 8/12/19

7. Meeting of creditors                          September 10, 2019 at 09:00 AM                                   Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a                   US Trustee Meeting Room, 230
    questioned under oath. In a joint case,      later date. If so, the date will be on the court                 N. First Avenue, Suite 102,
    both spouses must attend. Creditors may
    attend, but are not required to do so.       docket.                                                          Phoenix, AZ


8. Presumption of abuse                          The presumption of abuse does not arise.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or                     Filing deadline: 11/12/19
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of the
                                                   subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                   or

                                                 • if you want to have a debt excepted from discharge
                                                   under 11 U.S.C § 523(a)(2), (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be denied
                                                   under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                                Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property as              conclusion of the meeting of creditors
                                                 exempt. If you believe that the law does not authorize an
                                                 exemption claimed, you may file an objection.


10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now. If
                                                 it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    Please do not file a proof of claim unless   that you may file a proof of claim and stating the deadline.
    you receive a notice to do so.               Deadline for holder(s) of a claim secured by a security interest in the debtor's principal residence (Rule
                                                 3002(c)(7)(A): 70 Days from Case Filed Date.


11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court
                                                 to extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                                 have any questions about your rights in this case.


12. Exempt property                              The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                                 distributed to creditors. Debtors must file a list of property claimed as exempt. You may inspect that list at
                                                 the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an
                                                 exemption that the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                 objection by the deadline to object to exemptions in line 9.
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